   Case: 3:15-cv-50148 Document #: 137 Filed: 05/10/17 Page 1 of 2 PageID #:1768



                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              WESTERN DIVISION

LDGP, LLC, d/b/a HARTSOUGH               )
DERMATOLOGY, an Illinois LLC, RITACCA    )
COSMETIC SURGERY AND MED SPA, Ltd. an )
Illinois LLC, BLACK ALSATIANS, LLC d/b/a )
PIGMENT DEMOGRAPHICS AND LASER           )
REMOVAL, a Texas LLC, SAXON and          )
SUSAN HATCHETT, BURKE DERMATOLOGY, )
P.A., and ALL OTHERS SIMILARLY SITUATED,)
                                         )
                    Plaintiffs,          )
                                         )                  Case No. 3:15-cv-50148
v.                                       )
                                         )
CYNOSURE, Inc., a Delaware Corporation,  )
                                         )
                    Defendants.          )

                NOTICE OF MOTION AND CERTIFICATE OF SERVICE

To:    Eric L. Samore
       Yesha Hoeppner
       SmithAmundsen, LLC
       150 N. Michigan Ave., Ste. 3300
       Chicago, IL 60601

        Please take notice on May 23rd, 2017 at 10:00 am, or as soon as thereafter as counsel may
be heard, counsel for Plaintiffs shall appear before the Honorable Judge Iain Johnston in Room
5200 at 327 South Church Street in Rockford, Illinois, and present Plaintiffs’ Motion for
Clarification, which has been served on you through the Court’s CM/ECF system.

Dated: May 10, 2017

                                             /s/ Devon C. Bruce
                                                    Counsel for Defendants


Devon C. Bruce, Esq.
Power, Rogers & Smith
70 West Madison, 55th FL
Chicago, IL 60602
#312/236-9381
   Case: 3:15-cv-50148 Document #: 137 Filed: 05/10/17 Page 2 of 2 PageID #:1769



                               CERTIFICATE OF SERVICE

       I certify that a copy of the attached Notice and Plaintiffs’ Motion were filed with the
Clerk of the US District Court, Northern District of Illinois, Western Division, using the
CM/ECF system, and that a copy of each was sent via electronic delivery on May 10, 2017 to all
counsel of record in this case.


                                    /s/Devon C. Bruce
